         Case 2:09-cr-20026-PKH                          Document 155          Filed 07/14/10               Page 1 of 6 PageID #: 404
qA,\{l ?djB     (R{v 0S/08)Judgmcntin s Cntnrnsl (:src
                Shr€t I



                                          UtvtrenSrernsDts'rRrcr
                                                               Counr
                         WESTERN                                     Districtof                                ARKANSAS
              UNITEDSTATESOF.'AM[.:RI(]^                                   JUDGMENT IN A CRIMINAL (]ASE
                               v.
                C I I A S A N I Q U E J O R D A N C a s e N u m b e l : 2 ; 0 9 c R 2 0 0 2 6 . 0 0 4
                                                                           U S MN u m h c r :                 09075-010

                                                                           Daniel Stewaft
                                                                           Lrcftndsnfs Attomcy
THE DEFIINI)AN'I':
X plcfldsdguilly to count(s)         One

n pleadednolo contendereto count(s)
  which wrs acceptedby the court.
lJ was found guilty on count(s)
   aftera Fleaofnot guilty.

The defendautis adiudicatedguilty ofthesc offcnscs:

J!9. d-_$$$j!E                     Nflture of Offedse                                                         Offense Endcd      Coult

2l L,,S.Lr.
         $$ S4l(flXl)              (lonspiracy
                                             to DistributeCocaincBasc                                           03/27/2009          |
and 846



       The defendnntis sentencedas providedin pages2 through              ot-thisjrdgment. l'he sentenceis inrposedwithinthc
statutoryrangeand the IJ.S.ScntcncingGuidclineswere considered
                                                             as advisory,

n I he defendanthasheenfound not guilty on count(s)

X (lount(s)               Two (2) andThrcc(3)               !   is                  on the rnotionofthe ljnitcd Statos.
                                                                     X *re distnissed

           It is ordcredthfltrhedefendantrnustnotifo the LJniredStatesattonreyfor this district within 30 daysoftttty changeofname,residencc,
or rtailirtg addressuntil all fnes, restitution,.costs,                   im'posedby this.iudgmentfre fitl ly paid. Ifordercdto pa) rcstitutiorl.
                                                     ind spccialasscssmcnts,
the detendantmustnotllv thc coufl and L,nlted5IflIesflItorneyoI ntaTeat cnan8esrn ecoDorllrccrrcurnsranccs,

                                                                           J u l v 1 2 .2 0 1 0
                                                                           DutEof lnpo!ition of Judgn)enl



                                                                          #S/ RobertT. Dawson
                                                                           SiE,[flhro
                                                                                    r cf J u d E F




                                                                           HonorableBqbcrt T, Dawsdn. Unite
                                                                           Nanlc md titlE ot JudgE


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                                                                                r l lAlA
       Case 2:09-cr-20026-PKH                  Document 155              Filed 07/14/10         Page 2 of 6 PageID #: 405
AO 1458                     jn CriminnlCirsf
           (R,:v09/08)Jud8ute0t
           ShcEt? - Impdronmqnt
                                                                                                          - Ff,Be ----e-_
                                                                                                 Jrr.lBD)enl                of
DEFENDANT:                   cHASANTQUFt
                                       JORt)AN
LIASENUMBER:                 ?:09CR20026-004

                                                          IMPRISONMI]NT

        Thc defendantis herehycornmitt€dto the custodyofthe UnitedStfltesBurd{Lrol Prisonsto bc imprisoncdfbr a
total term of:    thirty-seven(37) rno ths




 n    Thc courtmakcsthc followingrecommendations
                                              to the llureouofPriso s:




 X    Thc dcfi"'ndant
                    is rcnrandEd
                               to the custodyofthe LlnitedStatesMflrshfll.

 n     l he defendantshall surrenderto the LlditedSlttes Marshnlfbr this district:

      trBt                                     !   a.m.     n   p,m.     on
      tr     rts otified by the United StatcsMf,rshfll-

      The defendantshall surrenderfor serviceofsentenceat the institutidndcsignntcdby thc BrLrcauofPrisons:

             hefore I l).r'n.o)l

      n      fis notificd by thc Unitcd StatcsMarshal.

      !      fls rrotiliedby the PrdbAtionor Prctrial ScrvicesOffice.



                                                                R-ETURN
I h0veei(ecutedthis.irrdgfiedt0s folldwsi




      Deiefidfl l deliveredor)                                                       rc

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                                                                        By
                                                                                            NEPUTYUNITEOSTATESi4ARSHAI,
             Case 2:09-cr-20026-PKH                          Document 155     Filed 07/14/10           Page 3 of 6 PageID #: 406
AO t45B         {ltEv. 0s/08) Judsmcntin il Crinrinal Cssc
                Shcer3     tirt,Fwircd R{lEIsE
                                                                                                          Judsmcnt Fnge l-         Df -L-

 DIFENDANI:  CI{AS^NIQIJEJORD^N
 CASENUMBHR: 2:09C1RJ0026-004
                             SUPERVISED RELEASE
                                                                           tirr rt ternl of:
 UDonrcleasefiom irrprisonment,the deftnr.lantshall be on supcrvisedrelea'se                           thtee (3) years




                                                                                                                         hdutsofreleasc liorn the
      The defendantrnustrepon to thc probAtionofficc in the rlistrictto whioh the defendantis rclerrsedwithin 72
 custodyol thc BureauofPrisons.
 Thc dcfend$ntshallnot conlmit anothtrrlcdertl, stateor looal fiitne.
 The defendalrtshallnot unlawfi]lly possessa controllcdsubsrange,Thc delendml shall rc{ain from any           un!awl'ulrtseofa controlled
 substancc.The defendantshall suunrn"ii"i.i",i,"g'iiir *ii[iiiii    ,layi of r,it,iiiJiii'* lmprisonrnentanil at leosttwo pcriodic drug tests
 thtreflfter,asdctcnttil)edby the court.
 n    Thc abdvedrug testfugddnditionis suspcnderl,    bnsedon the ooutt's determinationthat the defendantposesa low risk dl
       future substance abuse-(Chcok,ifapplicable )

 X     The defendantshallnot possesnfl lireft n, arnrrrunition,  desftuctivedevioc,orffly otlrerdangcrousweapon. (Check,ifapplicablc')

 X          l'he defendantshallcooperatcin the collectiorrofDNA fls directedby the probationoffiscr. (Llheck,ifapplic{ble')
                                                                                                                         works' or is fl
 n          The defendantshallregjst€rwith tht statesex offendcrregistrationagEndyid the statewhcrc lhe defendantrtsides,
            student,asdircctodby the probation  officer. (Check,ifdpplicrible )

 !                        shallparticipfltein an approvedprogri for domesticviolence. (check, ifapplicablc.)
            Thc r.lofendant
                                                                                                                     acoordlncewith thc
      If this iudgmcntifitposesa fine or rcs[itution,it is a conditionof superviscdreleflsethat the dclcndflntt)ayin
 Schedulc  ofPflyrnentssliecrol thisjudgment.
                                                                                                                                  conditions
      The defendf,ntmust coDrplywith the st{$dardcoDditionsthnt havebccnacloptedby this oourtas well as with nny additional
 on thc attHshedpaBe.

                                                STANDARD CONDITIONS OF SUPERVISION
      r ) the defcndrntshall not leavcthejudicial district without the pemrissionofthe courl or probationofficcr;
                                                                                                                                                 of
     ?)      thc rlcfenrjmt shallrcport to the probationdtlicer and shall subrnitr:ttruthful and oompletewritten reportwithin thc lirst five days
             crch rnontil
                                                                                                                         probttidn officer:
     3)      thc defendantshall dnswerhuthfully all irtquiriesby thc probationofficer anrt follow the irrstructionsofthe
     4)       the defenddntshrll supporthis or her dependerrts   and meetotherfamily responsibilities;
                                                                                                                               training,or other
      5)      the dcf'cndflntshall work rcgularly at a lawfrLloccupation,unlesscxctsed by the probationofficer for schoolillg,
                         reasonsi
              liccet)laDle
      6)      the defcnddntshflll notiry thc probrtion officer at leastten daysprior td flny changein residellceoI empldymenti
      7I      thc dclcfldflntshallrefrain frorn excessivcusc ofalcohol and shall.flotputchase,possess,use,distribute,or    adrninistcrRlIy
                                                                                                                        phycrcr{ ;
              Ji'ntriliiO iiiibitince or nny paraphcmrrli*felatedto auy conrolled subitanocs,exceptas prcscrrbedhy a
      8)      the defendantshrrllllot frequentplaceswhere controllcdsubstances     are illcEtallysold, used,diskibuted,or adftinistered;

      e) the defendantshall ot associatewith rrnypersonsengager!in crirninalactivity and shall not associatewith any petsonconvictcdof i:l
              felony, unlessgrantedpcrmissiollto do so hy thc Prdbtttlonottlcer;
                                                                                                                        penrritconfiscfltionof dny
     t 0)     rhedefendantshallpermit11prohatio4olficer.tov isit him or her at { ry tinre at homeor elsewhercantl shall
              contrabdndobservedIn  plaln vlew ot the probatlon  olrlcel;
     I l)     thedefendantshallnotiry the prohation officer within sevcnty-twohoursofbcing anestedor qucstionedby a law cnlbrceltrentofliccr;
                                                                                                                                    without the
     l2l      the defendantshsll not entFriDto dny figreenlentto aor as afi inforrneror it specifllagentof d law elrforcemcrttseency
              peflnissionol'the coufti and
     '-
     |3|      flsdirectedbv the orobationothccr, the defendantshallmotifyrhird particsof risksthat nraybe occ8sioned   by thedefendant'sc-rirninal
                                                                                                                 notilicitions
              lEi,ij-"i-oii.iirirTTiiio'v,jii[iir'a;i;rir,i;;;A ;ifiil'tdiii'iiit'i'proLatii'noiiiili ro rinkesuch            andto cdnfirmthe
                         compliancc\iith suchnotitlcationrequirement
              det-cndrrntts
       Case 2:09-cr-20026-PKH                        Document 155      Filed 07/14/10          Page 4 of 6 PageID #: 407
AO :45u    (ltEv.D9/08)
                      JudErrte
                             t in ir t'timinnlCnse
           Shact3(: - Supcwiscd RclcEsc
                                                                                                  Judgrnir --FaEc -JI_    nf
I)I,FF]NDANT':            CHAfiANIQUHJORDAN
CAST,NUMBER:              2:09CR20026-004

                                       SPECIAL CONDITIONS OF SUPERVISTON


l.   Thc dcflndantshatlsubnrithrr pcrson.rcsidcncc.placcofcmploynrcnt.tmdvchiclc to u ic rch conductedbv the LlnitedStatesProbation
     OfIjce at a reasonahletime andjn a rrisonableniahnerlrasedirnonreasonahle susnicionof evidenceofvioldtion ofany conditionol'
     superuised  release.lhe defendantshallwarn any otherresidentsthartheir premisesrnaybe sulrjectto searchpursuantio this conditiun.
     Failurctu submitto r scurchmuv bc sroundslbi rcvocation.

2 . In $ddilionlo the mnndn,on(t*c tar;nc ,equitetl)errts.
                                                        the defendflr]tshflllcomnlywirh any refefraldeenredaFl)roDriate
                                                                                                                     by the tJ.S.
     I'rohationOfllccr for in-pa[icntor out-pEticritcva]uation,trcatmcnt,counsclingor:tcstingl-orsubstmccabusc,-iircluding
                                                                                                                         uiinolysislbr
     resrnSpufposes-
          Case 2:09-cr-20026-PKH                      Document 155                   Filed 07/14/10             Page 5 of 6 PageID #: 408
AO 24JB      (Rev.09/08)J dgmentirtn Crirniii Cirsc
             Sheer5 Cfin[HI Monet v PenirltiE!
                                                                                                                      -- PaBe-I-
                                                                                                               Judgdrerlt              ot
TJIIFIINTJANT:                     CHASANIQUIJJORDAN
C A $ FN
       t TJMUHR:                   2:09CR?00?6-004
                                         CRIMINAL MONETARY                                  PENALTIES

    The defendflntmust bflv the totsl crimi fll tronetarv nenaltiesunderthe scheduleof Drvmentson Sheet6.


                        AsscSsmcnt                                          Flne                                    R€Btitutan
TOTALS              $   100.00                                            $ I,000.00                              $ -0-


n   Thedetermin$tionofrestitution
                                is deferred
                                          until                               An Ancndcd Jrclgmtnt in u L.riminal (irse (AO ?45C) will be entered
    at'tersuchdetermination,

n    l he defendantmust rnakerestitution(including conrmunigrrestitution)to the following payeesin the amountlistcd bclow,

    lfthe defendanrnlakesa nanial payment,eachpayeeshallreceivean approxinratelvDroponionedDavment,unlessspccificdothcrwiscin
    thc priority ordcr or pcFcintAgqbaymcntcolrrninbclow. Howcvcr, puiiurtnt t{J l8-U,S-C.$ 3664(i), nll nonl'ederalvictirnsmust be pflid
    befdrethdUnited Stiitesis ua'id.'

Nrr r€ of Psvee                                Totsl Loss*                             Rcstltl|tloll Ordcrcd                  Prlorlty or Pcrccntflgc




TOTAI,S


!              srnountorderedpursuant
     Restitution                   to pleaagreernent$

n    Thc dclcndantflust prryintereston reslilulion and fl lifle offfore tfifln $2,500,u lessthe restitutionor fine is paid in full heforethe
     fillccnth day allcr thc drrteofthejudgmentl pursui t to l8 U.S.C.$ 361?(f). All of the pnylnentoptionson Sheet6 nraybe subject
     ro penalriesfor delinquency   anddefault,pursuantto l8 u.S,C.$ 1612(e).

     'l
          he coun detenninedthat the defendartdoesnot havethe ability to pay interestand it is orderedthat:

     X      the intcrcstrcquircmcntis waivcd fcrrthc          f,       finc     E   rcntitrLtion-

     n      the interestrequirernentfor the       !    fine        I     restitutionis rnodifiedas fol]ows:



+ FirrdinAsfor thetotalamountoflossesarerequircd underChaptersI Q9A, I | 0, I l0A, and I l3 A ofTitlc I I iirr ollcnscscommittedon or after
Scptcmbtr13, 1994,but belbreApril 23, 1996.
            Case 2:09-cr-20026-PKH                     Document 155          Filed 07/14/10           Page 6 of 6 PageID #: 409
AO ?4sll                 Judsmcntin a (liminal (lusc
             (Rcv 119,'I)8)
             Shcct6 - Schcdulcof Prymcnt,

                                                                                                         J denrcnr- PrFc 4          ul
 DEFENDANT:                   CHASANIQUEJORDNN
 C]ASE
     NUMBER:                  2;09trR20026-004

                                                        SCHEDULE OF PAYMENTS

               thc dcfcndant'sability to pfly, paylncntol-thetotal criminal monetnrypennltiesare due asfollows:
 Having asscsscd

 A    X      Lunlpsumpaytnent
                            of$             1.100.00         dueimmediately,
                                                                          balancedue

             n     not laterthan                                 ,(Jt
             X     ir accordarce          trc, nD,           F     E, or     f, F bclow; or

 B     n     Paynrenrro begin irnrnediately(nraybe conrbinedwith           ! C-      !   D, or    n F bclo'/v);'lr
 (:    fl    P$ymenti equal                 (e.9,,lyeekly,ftror)thly,quflrterly)instdlrnentsof $                     over a period of
                       (c.g.,monthsdr ycrrts),to coftlfieflce _            (e.g,,l0 or 60 days)after the dateof this judgrnent;or

       n     Paynlent
                   in equal                  (e.9.,weekly,rnonthly,quanerly;instalhnents
                                                                                      of $                 ovcr n Fdtiod o1'
                         (e.9.,ffonlhsor years),to comtnence_(e,g,,30           ot60days) afterrelease
                                                                                                     tom inrprisonmcnt tod
             tcrm ol suPsrvlslon;0r

       U     Pdyrncntduring the tenn ofsupervisedrelensewill commencewithin _(e.8.,30              or60 days)affcr rclcasclionr
                                                                                  ofthe defendant'sflbility to pay at that tinre;or
             inlprisonmcnt.Thc court will sct thc p{yftent plan bnsedon m assessment

      X      $pecialinstructionsregardingthe paymcntof crin]inal monctarypcnfll(ics:

             Il-norp id inrmcdidLcly.  unyunraidlindrlcinlsennltyimoosed    shallhe naidduringthe neriodofincarceration  at a ratcoi notlcss
             rhan525,00qutrnerly.-orl0% dl rhedciend0ni'srtuinerly earninns,wliicheveris greati:r.After incarccration,    an) rLnpuicllinunciul
             ncnultyshullbccomifl 5Dccisl    condilionol'suoervised release arrdmaybe paidin monthlyinstallmcnts   ofnot lcssthanloo/ool thc
             ilefendant'snct munthlyhor.Lschold  incomc,,britin no crrsclcsslhfln $50.0Uperrnor)th,wiih the entirebalanceto hc paidin lirll onc
             ftlont|toflor Io tne Iermlnauoll0TsuDeFr'lseorerease.


                                                                                    p{ymc'ntofcriminal monerarypetlaltiesis duedudnq
       thecoufi llasexpresslyorderedotherrvise,ifthisjudgrrrentinrposcsinrprisonmcnt,
 LJnless
 rnlFnsonnlent-n ll cflmlnal monclflry pcn tlel. exccpl those pAymedlslnade tllfotlgtl me lefleral rjureau oT l'nqnns lnnlarc rlnHnclal
 Re'sFonsibility
               Progranl,are m{de to thdclerk ofthe coirn.

 The defendantshnllreceivecredit for all paynrentspreviouslymadetoward any criminal nronctdrypenaltiesintposed,




 n    Joint and Several

      Defendantand Co-DcfcndantNamcsitnd CaseN nbets(includingdefendantnumbef), l otal Amount, Joint and ScvcrfllAfiou t,
      md comesponding payee,if appropriate.




      'lhe
 n           defendantshallpay the cost ofprosccution.

 n    Thc dcfendantshall pay thc lbllowing cdurt cost(s):

 n    Thc dclcndEntshdll lbrfeit the defendant'sinterestin the following propedyto the LJnitedStates:




 Pavmcntsshallbc irppliedin the foliowing order:(l) assessrnent,      (2) restitutionprircipal, (3JrestitutioDintcrcst.(4J fine principfll,
 (5i tinc int('rest,(6)'cbrnmunityrestitutiori (7) petralties,and (8) cbits, includindcostbfpr'osecutionand court costs.
